                ORIGINAL ACTION JOURNAL ENTRY AND OPINION
{¶ 1} On May 19, 2004, relator, Dennis Gates, commenced this procedendo action against respondent, Judge Jose Villanueva, to compel him to rule on his post-conviction petition filed inState v. Gates, Cuyahoga County Court of Common Pleas Case No. CR-360793 which was originally filed on April 26, 1999. On August 5, 2004, respondent, through the Cuyahoga County Prosecutor, filed a motion for summary judgment to which Gates did not submit a response. Attached to the respondent's motion for summary judgment is a copy of the court's findings of fact and conclusions of law denying Gate's post-conviction petition. Thus, Gates petition for a writ of procedendo is moot. State ex rel.Grant v. Coleman (1983), 6 Ohio St.3d 5, 450 N.E.2d 1163; Stateex rel. Jerningham v. Cuyahoga Cty. Court of Common Pleas,74 Ohio St.3d 278, 1996-Ohio-117, 658 N.E.2d 723.
  {¶ 2} Accordingly, we grant the respondent's motion for summary judgment. Respondent to bear costs. It is further ordered that the clerk shall serve upon all parties notice of this judgment and date of entry pursuant to Civ.R. 58(B).
Writ denied.
Kilbane, J., concurs Gallagher, J., concurs.